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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

Ying Yao, on behalf of herself                        )
and all others similarly situated                     )
                                                      )      No.: 1: 18-cv-07865
                      Plaintiffs,                     )
                                                      )
                 v.                                   )
                                                      )      Judge: Hon. Kocoras
Carillon Tower/Chicago LP;                            )
Forefront EB-5 Fund (ICT) LLC;                        )
Tizi LLC d/b/a Local Government                       )      Magistrate: Hon. Kim
      Regional Center of Illinois;                    )
TD Bank N.A.;                                         )
Symmetry Property Development II LLC;                 )
Fordham Real Estate LLC;                              )
And Jeffrey L. Laytin                                 )
                 Defendants.                          )



MOTION FOR PRELIMINARY INJUNCTION COMPELLING DEFENDANT
   LAYTIN TO DISCLOSE THE LOCATION AND FREEZE THE $49.5
              MILLION ASSETS IN CONTROVERSY

       Plaintiffs move this Honorable Court for injunctive relief under F.R.C.P. 65

compelling Defendant Jeffrey L. Laytin and the three Defendants that he controls

(collectively, “Laytin”) to disclose the whereabouts and status of the $49.5 million in

controversy, and to freeze such assets (or an equivalent of such assets) until this

case is resolved or settled. In support of this Motion, the Plaintiffs state as follows:

I.     $49,500,000 of Chinese Investors’ Money is Missing

       Plaintiffs are a class of 90 Chinese investors who each put $550,000 in escrow

with Defendant TD Bank N.A. (“TD Bank”) in 2015, for a total of $49,500,000 in

cash. The money was intended for a subsequently aborted project called “Carillon
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Tower,” a proposed 42-storey mixed-use structure on the vacant lot at Superior and

Wabash Streets in the Magnificent Mile area in the 42nd Ward of Chicago. This was

an “EB-5” transaction under which the Chinese investors sought to qualify for a

conditional green card that requires each investor to prove that his investment

generated ten (10) jobs in America.

      The offering documents signed by the Plaintiffs provided them with complete

protection in the form of a refund if the project did not go forward.      This was

accomplished by a promise from escrow agent TD Bank that it would only release

the $49.5 million if a “Holdback Trigger” was satisfied – and this Holdback Trigger

required that a plan for the project had been submitted to the Chicago

Commissioner of Planning and Development (See Complaint at ¶24). The offering

documents said that if the Holdback Trigger was not satisfied, the money would be

refunded to the Chinese investors.

      The Holdback Trigger was never satisfied.

      42nd Ward Alderman Brendan Reilly nixed the project, and the plan was

never submitted to the Chicago Commissioner of Planning and Development (See

Complaint at ¶14 et seq.).        Chicago tradition (referred to as ‘Aldermanic

prerogative’) dictates that a construction plan cannot be submitted to the

Commissioner of Planning and Development unless and until the Alderman

approves it. In this case, there was a vocal neighborhood outcry against the project,

and it was rejected by the Alderman and never got off the ground.




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      Because the condition for release of funds from escrow was never satisfied,

the money should have been refunded to the Chinese back in 2015. Instead, TD

Bank wrongfully released the funds to the Laytin parties in 2015.

      Plaintiffs have lost control of their own money for three years already, and it

now seems laughable that the Confidential Private Offering Memorandum under

which they invested (i.e., the prospectus) says that the project would be finished in

2017: “The construction period is expected to take 24 months and is projected to be

completed in October 2017, assuming construction commences in October 2015.”

(See Complaint, Ex. 1, at 5).

      No shovel has been put into the ground. No plan has been submitted. There

is no reason to believe that this project will ever move forward. In fact, Alderman

Reilly recently moved to downzone the subject property to prevent anything

resembling this project from being built there, as reported in Crain’s Chicago

Business and The Real Deal:


             Reilly looks to thwart Symmetry                 Property
             Development’s River North plans again

             Alderman Brendan Reilly (42nd) moved to downzone
             some River North properties where Symmetry Property
             Development wants to tear down several buildings.
             Reilly’s move would hamstring New York-based
             Symmetry’s ability to develop the properties, something
             he’s already done once. He rejected the developer’s plan
             for a 60-unit condominium hotel on the site last year,
             saying it would add to traffic woes in the area. (citing to
             Crain’s Chicago Business).




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See John O’Brien, “Alderman Reilly looks to disrupt Symmetry Property project,”

The          Real        Deal        Chicago,        November           1,        2018,

https://therealdeal.com/chicago/2018/11/01/chicago-cheat-sheet-four-seasons-condo-

sells-the-78-seeks-first-approvals-more/ (last visited January 31, 2019).

         Plaintiffs’ money – in many cases their family’s life savings - has passed

through the hands of TD Bank to the Laytin-controlled parties. It is long past due

for those Defendants to account for the money’s location and to prove that it still

exists as a source of recovery for the Plaintiffs. If the money is missing, in whole or

part, this case becomes a criminal matter, and the Plaintiffs need to bring in the

DOJ and the SEC. Plaintiff’s counsel has undertaken a diligent search for the

money but cannot locate the $49.5 million that is the subject of this lawsuit. See

Affidavit of Plaintiff’s Counsel attached hereto.



II.     The Funds may be dissipated and Laytin may be Insolvent

        If this was a normal situation, Plaintiffs would await discovery to learn the

location of the $49.5 million, and they would not seek injunctive relief because

money damages would render them whole at the conclusion of this lawsuit.

        But there are two key exceptions recognized in this District where injunctive

relief is warranted even though the plaintiff seeks money damages: (i) when the

defendant is likely to dissipate the assets or become insolvent and judgment proof,

and (ii) when the Plaintiff has a claim to specific assets - even if cash - that need to

be preserved for potential recovery. Monfardini v. Quinlan, 2003 U.S. Dist. LEXIS

10064 *8, 11 (N.D. Ill. 2003)(Judge Magistrate Ashman). The Court in Monfardini
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ordered a freeze of fungible cash that was subject to a pledge agreement on the

grounds that the cash was the specific asset in controversy, and a freeze was

necessary to prevent dissipation or conversion into a different type of asset. The

Monfardini decision is unreported but it offers a succinct review of the law based on

reported decisions:

             One exception to the general rule that the availability of
             money damages at the conclusion of the trial will make
             the plaintiff whole is the insolvency exception. A
             defendant’s potential or actual insolvency is a “standard
             ground” for demonstrating that an award of damages is
             inadequate. Am. Hosp. Supply Corp. v. Hosp. Prods. Ltd.,
             780 F.2d 589, 596 (7th Cir. 1985) (noting that a loss may
             be irreparable if the defendant's insolvency is apparent
             but the defendant is not yet in bankruptcy) . . . Another
             exception is "when the claimant has an interest in specific
             funds held by the debtor." Franz v. Calaco Dev. Corp., 322
             Ill. App. 3d 941, 751 N.E.2d 1250, 1256, 256 Ill. Dec. 413
             (Ill. App. Ct. 2001) (emphasis added); Newby, 188 F. Supp.
             2d at 696. The funds sought to be frozen must have a
             specific relationship to the case and must be the funds in
             controversy between the parties. Kurti v. Silk Plants Etc.
             Franchise Sys., 200 Ill. App. 3d 605, 558 N.E.2d 361, 364,
             146 Ill. Dec. 398 (Ill. App. Ct. 1990).

Monfardini, at *8, 11. Both exceptions apply here.

      First of all, no one will tell Plaintiffs where their $49.5 million is located.

Defendant TD Bank who released the money doesn’t know where the money is.

None of the other Defendants know where the money is. All they can do is throw up

their hands and suggest that Plaintiffs speak with Defendant Laytin and his

entities, but Plaintiffs have spoken to them consistently for months and they aren’t

saying where the money is located or that it is safe. The Plaintiffs are entitled to

assurance that their money is safe and will be held inviolate while this case is

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pending. It is disturbing and highly suspicious that no one will say where the

money in controversy is located, or even that it still exists.

      Plaintiffs also have an equitable claim (as opposed to a claim for money

damages)    that   since   they   are   limited      partners    in   Defendant   Carillon

Towers/Chicago LP, they are owed a duty of good faith and fair dealing by the

general partner, which is a Laytin-controlled entity. Plaintiffs have an equitable

claim for assurance from Laytin that their money is safe and has not been spent on

some other project or otherwise dissipated.

      Plaintiffs have legitimate cause for concern because Laytin and his entities

will not divulge the location or current value of the money, nor do the Laytin

entities appear to have any other assets from which Plaintiffs could recover, to wit:

             1.     Defendant Symmetry, the ostensible developer, has

             a website (sympd.com) that is a placeholder and does not

             show any ongoing projects. Symmetry’s physical address

             is the same as that for Laytin’s law office, so it is not clear

             if Symmetry is simply an alter ego of Laytin. A thorough

             search has not been able to turn up any other Symmetry

             projects or assets.        This raises a serious risk of

             commingling of funds between Laytin and the entities

             that he controls.

             2.     The SEC’s filing system (EDGAR) shows defendant

             Symmetry and its affiliates as having filed Form Ds (for

             private    placements)     only    in    2012      and   nothing
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         subsequently, which suggests that they have not done

         other projects since then. Symmetry’s filing with the New

         York Secretary of State leads back to the Law Office of

         Jeffrey L. Laytin, again raising the concern that

         Symmetry is an alter ego of Laytin and that the funds

         have been commingled.

         3.    Symmetry’s SEC filing from 2012 lists Bradley

         Riefler as a Director and “Related Party,” but Mr. Riefler’s

         creditors pushed him into bankruptcy liquidation and the

         Bankruptcy Trustee has charged him with making false

         oaths about his finances and failure to disclose businesses

         and debts. See https://westfaironline.com/108856/court-

         denies-wealth-manager-bradley-reiflers-bid-to-dismiss-

         50m-in-debts/ (last visited January 31, 2019). In 2018, he

         was barred from associating with any FINRA regulated

         entity. Disciplinary Proceeding 2016050924601 (August 7,

         2018). The Wall Street Journal said that he was facing

         jail time for contempt of court and that he owed millions

         to J.P. Morgan. His current whereabouts are unknown to

         Plaintiffs. These are not comforting facts for Plaintiffs

         whose money is supposed to be held safely with such

         persons.



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         4.     The Defendant Tizi LLC has informed Plaintiff’s

         counsel that they merely ‘rented’ out their EB-5 Regional

         Center status to Laytin so he could build in Chicago, and

         they have no idea what Laytin did with the money, nor

         whether he is working with any other regional centers on

         other projects that would generate income.

         5.     Mr. Laytin’s law firm website (jlaytinlaw.com) has

         a 2013 copyright and does not mention any recent projects.

         It is not clear if he is still practicing law, doing real estate

         deals, or generating any income.

         6.     Plaintiffs’ counsel has been in touch with Alderman

         Reilly’s office since this case began, and they are strongly

         opposed to this project and will fight it, meaning that it

         can only go forward in the most unlikely circumstances in

         Chicago history, namely that a project goes forward over

         the objection of an Alderman and his constituents. The

         project is wildly unpopular and has generated community

         outcry. The chance of it being built are infinitesimally

         low, and the Chinese Plaintiffs have already lost three

         years and have no trust in Laytin.

         7.     It has taken six weeks of negotiation for Laytin to

         offer a refund only to the lead plaintiff in this matter,



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             leaving 89 others with nothing.     This suggests that he

             does not have the money to pay back the Plaintiffs.

             8.     The Plaintiffs have waited 3 years to find out from

             the general partner (Laytin) where their money is located.

             That alone is enough to raise suspicions.



   III.      Plaintiffs Can Meet the Standard of a TRO

      To obtain preliminary injunctive relief under Rule 65, Plaintiffs must show (i)

reasonable likelihood of success on the merits; (ii) no adequate remedy exists at law;

(iii) irreparable harm if the injunctive relief is not granted; (iv) the balance of

equities favors Plaintiff in that the burden of the defendants is minor compared to

the loss facing the plaintiffs; and (v) injunctive relief will not harm the public

interest. St. John’s United Church of Christ v City of Chicago, 502 F.3d 616, 625 (7th

Cir. 2007); Joelner v. Village of Washington Park, 378 F.3d 613, 619 (7th Cir.

2004)("In order to obtain a preliminary injunction, the moving party must show

that: (1) they are reasonably likely to succeed on the merits; (2) no adequate remedy

at law exists; (3) they will suffer irreparable harm which, absent injunctive relief,

outweighs the irreparable harm the respondent will suffer if the injunction is

granted; and (4) the injunction will not harm the public interest.")

      These elements are easily satisfied.

      First, Plaintiffs are likely to win on the merits.     The movement of their

money from TD Bank to Laytin was subject to the Holdback Trigger that never took

place, so Laytin should not have received the money in the first place, but having
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received it, he had a duty to safeguard and account for it. Under the terms of the

investment documents, the money must eventually come back to the Plaintiffs

because the Holdback Trigger was not satisfied.

      The Plaintiffs obviously have a claim against TD Bank for wrongfully

releasing the $49.5 million to Laytin, but TD Bank has indicated that they may

invoke indemnity from Laytin, which brings this Court back to the question of

whether Laytin has retained and safeguarded the investment funds.

      Second, there is no adequate remedy at law unless Laytin has the money and

is safeguarding it for the Plaintiffs, or that he has other assets from which Plaintiffs

may recover. As noted above, courts in this District have held that an injunction

can apply when specific assets – even cash – are in controversy and need to be

safeguarded for a proper remedy.

      Furthermore, Plaintiffs are seeking equitable relief in that they are merely

forcing Laytin to do what he should already be doing as a matter of partnership law

– making a report to limited partners of where their money is located and that it is

safeguarded.

      Third, irreparable harm is satisfied when there is a danger that the

defendant is insolvent. Deckert v. Independence Shares Corp., 311 U.S. 282, 290

(1940)(“there were allegations that [the defendant] was insolvent and its assets in

danger of dissipation or depletion. This being so, the legal remedy against [the

defendant], without recourse to the fund in the hands of [a third party], would be

inadequate”).    A defendant’s potential or actual insolvency is sufficient to

demonstrate that an award of damages at the conclusion of trial is inadequate. Am.
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Hosp. Supply Corp. v. Hosp. Prods. Ltd., 780 F.2d 589, 596 (7th Cir. 1985). Here,

there is no public information to indicate Laytin or his entities solvency, and in fact

there is only negative news about Defendant Symmetry which he controls.

   Fourth, in weighing the burdens, it is obvious that the burden on Laytin is

miniscule: all he has to do is provide a one-page bank receipt showing where the

money is located and then make a promise not to dissipate the money during this

lawsuit unless approved by the Court. That is something he is supposed to be doing

anyway since there is no way for him to spend money on a project that is dead in

the water. It would be inequitable to force Plaintiffs and their counsel to incur

massive costs of litigation only to face the possibility of reaching the endpoint and

getting a judgment only to find that Laytin dissipated or lost the money and is

judgment-proof.

      Finally, there is no harm to the public since the citizens of Chicago didn’t

want Carillon Tower to be built in the first place, and there is a public interest in

due enforcement of the securities laws and the laws governing the duties of a

general partner to limited partners.

      As a general matter of law, District Courts have "broad equitable powers to

grant ancillary relief [to freeze assets] . . . where necessary and proper to effectuate

the purposes of the securities laws." SEC v. Prater, 289 F. Supp. 2d 39 (D. Conn.

2003)(freezing assets), quoting SEC v. Amer. Bd. of Trade, Inc., 830 F.2d 431, 438

(2nd Cir. 1987)(noting that the District Court can impound assets, freeze assets,

and prevent movement of assets). The decision in Prater says that in a motion for

injunctive relief freezing assets in a securities lawsuit, a reviewing court must
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weigh the benefits to the plaintiffs against the burdens to the defendant, because

there are some cases where, for example, an asset freeze would put a defendant out

of business. But Plaintiffs do not propose to freeze all of Laytin’s assets, nor do they

propose to interfere with his other business ventures, if he has any. They only want

to ensure that their money – which cannot be used for any other legitimate purpose

– is safeguarded. The harm to Laytin is so small that the bond required under

F.R.C.P. 65 should only be $1000, if anything at all.

       The burden on Laytin is less than half an hour to print out a bank statement

showing $49.5 million of the Plaintiff’s money (presumably with interest) and to

submit a written promise not to move the funds until this case is resolved. That is a

tiny burden. But his failure or inability to do this will thrust 90 investors into

turmoil and will portend financial ruin for many of them. The balance of equities

favors a preliminary injunction.



       WHEREFORE, Plaintiffs seek an Order under F.R.C.P. 65 granting

preliminary injunctive relief in conformity with Rule 65(c) and (d) and a finding by

this Court as follows:

   1. A preliminary injunction is necessary to identify and safeguard the specific

assets that are the subject of this litigation;

   2. The preliminary injunction compels defendant Laytin to disclose the location

and current value of the $49.5 million invested by the Plaintiffs;

   3) The injunction shall last for the duration of this litigation; and



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   4) Because the burden on Laytin is miniscule, Plaintiffs shall post bond in the

amount of $1,000, or, in the Court’s discretion, no bond.



Dated:         February 2, 2019

                                                     Respectfully Submitted,

                                                     /s/ Douglas Litowitz

                                                     Attorney for Plaintiffs



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                                   Certificate of Service
I certify that on the 2nd day of February, 2019, I electronically filed this Motion for Preliminary
Injunction with the Clerk of the Court using the CM/ECF system.

                                                     /s/ Doug Litowitz




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